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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 M.P. MOON, individually and as representative
 of a class of participants and beneficiaries in and
 on behalf of the DuPont Pension and Retirement C.A. No. 1:19-cv-01856-SB
 Plan,


             Plaintiff,
                                                    Class Action
 vs.


 E.I. du Pont de Nemours and Company,


             Defendant.




                                   RULE 7.1.1 STATEMENT

       Pursuant to D. Del., LR 7.1.1, I hereby certify that Plaintiff’s counsel conferred with

Defendant’s counsel and made reasonable efforts to reach agreement on the matters set forth in

Plaintiff’s Motion for Class Certification.

Date: November 12, 2021                        /s/ P. Bradford deLeeuw
                                              P. Bradford deLeeuw (#3569)
